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                                                                 In response, Mucci argues that there are genuine issues of
                    2008 WL 8920318
                                                                 material fact from which a jury could conclude that St.
    Only the Westlaw citation is currently available.
                                                                 Mary's conduct constitutes unlawful discrimination and,
               United States District Court,
                                                                 therefore, the motion for summary judgment should be
                      D. Connecticut.
                                                                 denied in its entirety.
                  Gale MUCCI, Plaintiff,
                                    V.
                                                                 The issues are I) whether there is sufficient evidence
       ST. MARY'S HOSPITAL, INC., Defendant.                     to raise a genuine issue of material fact with respect
                                                                 to Mucci's FMLA claims 2) whether there is sufficient
                Civil No. 3:o6CVii35 (AVC).                      evidence to raise a genuine issue of material fact with
                               I                                 respect to Mucci's ADEA and CFEPA retaliation claims;
                       Sept. 22, 2008.                           and 3) whether there is sufficient evidence to raise a
                                                                 genuine issue of material fact with respect to Mucci's
Attorneys and Law Finns                                          ADEA and CFEPA age discrimination claims.

Deborah L. McKenna, Stephanie M. Marnin, Outten &
                                                                 For the reasons hereinafter set forth, the motion for
Golden, Stamford, CT, for Plaintiff.
                                                                 summary judgment is GRANTED in part and DENIED
James F. Shea, Tasos C. Paindiris, Jackson Lewis,                in part.
Hartford, CT, for Defendant.


                                                                                           Facts
           RULING ON THE DEFENDANTS
       MOTION FOR SUMMARY JUDGMENT                               Examination of the complaint, pleadings, Local Rule
                                                                 56(a) statements, and exhibits accompanying the motion
ALFRED V. COVELLO, District Judge.                               for summary judgment discloses the following undisputed
                                                                 material facts:
 *1 This is an action for damages, attorney's fees, and
equitable relief involving alleged age discrimination and        The defendant, Saint Mary's Hospital, located in
retaliation with respect to the defendant's termination of       Waterbury, Connecticut, is a not-for-profit, general acute
and failure to re-hire the plaintiff. It is brought pursuant     teaching hospital. Eleven in-patient nursing units are
to the Age Discrimination in Employment Act, 29 U.S.C.           located within St. Mary's. During the relevant time, Janet
§ 621 ei. seq. ("ADEA"), the Federal Family and Medical          Weber was the Xavier 3 unit Nursing Director. Janice
Leave Act, 29 U.S.C. § 2612 el. seq. ("FMLA"), and the           Brown was Nursing Director of the units, Sacred Heart 5
Connecticut Fair Employment Practices Act, C.G.S. Jj             and O'Brien 4. Paula Bowley was Nursing Director of the
46a-60 et. seq. ("CFEPA").
                                                                 telemetry/critical care unit. Lastly, Claudette Conran was
                                                                 Nursing Director of O'Brien 1, the psychiatric unit.
In her five-count complaint, the plaintiff. Gale Mucci,
alleges that the defendant, her former employer, St.             The plaintiff. Gale Mucci, born on April 6, 1953, was
Mary's Hospital ("St.Mary's"), subjected her to adverse
employment action because of her age and retaliated
                                                                 50 years old at the time of her termination.' In 1978,
                                                                 St. Mary's hired Mucci, at the age of 25, as a "nurse's
against her for taking an approved medical leave of
                                                                 aide". In 1987, St. Mary's hired Mucci for a night-shift
absence and for making both informal and formal
                                                                 "clinical unit clerk" position. During her time as a unit
complaints of age discrimination.
                                                                 clerk, Janice Brown was her supervisor. In 1998, while
                                                                 continuing to work at St. Mary's, Mucci started at the
St. Mary's has filed the within motion for summary
                                                                 Bridgeport School of Nursing to earn her nursing degree.
judgment arguing that there is no genuine issue of material
                                                                 In 2000, Mucci graduated from the Bridgeport Hospital
fact with respect to any of the five claims and is entitled to
                                                                 School of Nursing. In 2001, she obtained her registered
judgment as a matter of law.
                                                                 nurse (RN) license from the State of Connecticut after



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passing her Connecticut Nursing Exam. In the summer              the hiring of Mucci's replacement, Kathleen Poholirak,
of 2001, St. Mary's hired " Mucci, at the age of 46, as a        who was born on September 22, 1970, and, therefore, was
registered nurse on the Xavier 3 unit, for the night-shift,      thirty four years old when she was hired as the plaintiffs
about 11:00 pm to 7:00 a.m. Mucci held this position for         replacement. Poholirak, a 2004 nursing graduate, had
the next three and a half years.                                 recently started working at St. Mary's on Sacred Heart 5
                                                                 and applied for the Xavier 3 position via a transfer request.
*2 On September 9, 2004, Mucci was injured in a
motor vehicle accident. St. Maiy's granted Mucci unpaid          Mucci states that, "she applied for all open positions for
medical leave under its Family Medical Leave policy to           which she believed she was qualified from January 26,
begin on September 16, 2004. Mucci's initial expectation         2005 through June 18, 2005." Despite 16 applications,
was to return to work on October 5, 2004, from the               Mucci was not re-hired. Mucci points out that she was
approved leave. However, she extended her leave once to          also not interviewed for any of the positions. According
November 18,2004, and a second time to January 9,2005.           to Nancy Miko, of the nurses hired for the 16 positions,
Mucci received the full 16 weeks of statutorily protected        three were over the age of 40.
leave from September 14, 2004 to January 9, 2005. On
January 9, 2005, upon expiration of her leave term, Mucci        On March 7, 2005, Mucci accepted a nursing position
was automatically placed in "neutral absence status"."^          at Waterbury Hospital where she remains employed.
The parties disagree as to the correct interpretation and        On September 19, 2005, St. Mary's officially terminated
application of the neutral status policy^ with respect           Mucci's employment. ''
whether neutral applicants are considered external or
                                                                  *3 Mucci alleges that her "termination [from St. Mary's]
internal applicants.
                                                                 transfonned [her] from a highly functioning and engaged
                                                                 spouse, parent, and individual to a person who suffered
On January 21, 2005, eleven days after her FMLA leave
                                                                 from anxiety and depression, to the point that she could
expired, Mucci's own physician medically cleared her to
                                                                 barely drive past St. Mary's hospital without becoming
return to work and on January 25, 2005, St. Mary's
                                                                 emotional."
Occupational Health Department medically cleared her to
return to work. ^ Both doctors cleared her to return to
work without any restrictions. No one at St. Mary's ever
told Mucci that they considered her injuries to be a liability                          STANDARD

to the hospital.
                                                                 The court appropriately grants summary judgment when
                                                                 the evidentiary record shows that there are no genuine
On January 26, 2005, Mucci went to the St. Mary's
                                                                 issues of material fact and that the moving party is entitled
human resources department and applied for her former
                                                                 to judgment as a matter of law. Fcd.R.Cix.P. 56(c). In
position in person. She applied for her former position
                                                                 determining whether the record presents genuine issues for
as an internal applicant based on a conversation with
                                                                 trial, the court must view all inferences and ambiguities
John Jenusaitis a day earlier. On January 27, 2005 Nancy
                                                                 in a light most favorable to the non-moving party. See
Miko , St. Mary's Clinical Recruiter, called and informed        Bryant v. Majfmri. 923 F.2d 979, 982 (2d Cir.1991), cert,
Mucci that she was not an "in-house" applicant; rather,          denied, 502 U.S. 849 (1991). A plaintiff raises a genuine
she was considered an outside (external) applicant. Mucci        issue of material fact if "the jury could reasonably find for
then faxed an external application for her former position       the plaintiff." Anderson v. Liberty Lobby, Inc., All U.S.
on Xavier 3 to the Recruitment Resource Center that day.         242. 252(1986).

On January 28, 2005, Mucci called Janet Weber to inform          Rule 56 "provides that the mere existence of some
her that she had applied both internally and externally          alleged factual dispute between the parties will not defeat
for her former position. Weber told Mucci that she had           an otherwise properly supported motion for summary
already offered the position to another applicant. The           judgment; the requirement is that there be no genuine issue
parties dispute whether correct protocol was followed in         of material fact." Anderson v. Liberty Lobby. Inc.. All



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U.S. 242. 247-48 (1986). *'One of the principal purposes        her FMLA leave. This is also referred to as the "causal
of the summary judgment rule is to isolate and dispose          connection" prong of the plaintiffs prima facie case.
of factually unsupported claims ... [and] it should be
interpreted in a way that allows it to accomplish this          St. Mary's argues that Mucci fails to establish a FMLA
purpose." Cclotcx Corp. r. Cafrctt. 477 U.S. 317, 323-324       retaliation claim. Specifically, St. Mary's argues that
(1986).                                                         Mucci "cannot establish an inference of retaliatory
                                                                intent".


                                                                In response, Mucci argues that she has met all four
                         Discussion
                                                                elements of her prima facie claim. Specifically, she argues
The plaintiff asserts claims of retaliation and age             that her circumstantial evidence of temporal proximity,
discrimination under the FMLA, ADEA, and CFEPA.                 inter alia, "give[s]rise to an inference ofretaliatory intent."
On a motion for summary judgment, all of these claims
are subject to the McDonnell-Douglas three-part burden-         The court concludes that Mucci's circumstantial evidence
shifting standard where the plaintiff must establish a          does satisfy the causal connection element and thus, she
prima facie case of discrimination or retaliation and           establishes a prima facie case of retaliation under the
then provide evidence to support a finding of pretext.          FMLA.
AdcDonnellDouglas Corp. v. Green, 411 U.S. 792 (1973).
                                                                "In this circuit, a plaintiff can indirectly establish a causal
                                                                connection to support a ... retaliation claim by showing
  L Prima Facie Case                                            the protected activity was closely followed in time by the
                                                                adverse [employment] action." Gormon-Bakos v. Cornell
  A. Retaliation Under the FMLA                                 Co-op Extnsion of Schenectady, 252 F.3d 545, 554 (2d.
Mucci asserts a claim of retaliation for exercising her         Cir.2001) (citations omitted) (internal quotation marks
rights under the FMLA, that is, but for taking the FMLA         omitted) (finding that the passage of up to five months
leave she would not have lost her job on Xavier 3, or would     between the claim and the adverse action is "strong
have been hired to another position.                            enough to survive a summary judgment motion"); see
                                                                also Grant v. Bethlehem Steel Corp.. 622 F.2d 43, 45-
Under the McDonnell-Douglas framework, a plaintiff              46 (2d Cir.1980) (finding that an 8 month gap between
bears the initial burden of proving, by a preponderance of      EEOC complaint and retaliatory action suggesteda causal
the evidence, a prima facie case of retaliation. See Protenza   relationship).
V. City oJ'Nfw York, 365 F.3d 165, 168 f2d Cir.2004); see
also Sista v. CDC IX'IS North America. Inc.. 445 F,3d 161,      Mucci's FMLA leave expired on January 9, 2005. She
176 (2d Cir.20()6).                                             applied for several RN positions over the next six
                                                                months and was officially terminated on September 19,
To estabHsh a prima facie case, the plaintiff must              2005. Indeed, Mucci's rejected applications (the last one
show that "1) [she] exercised rights protected under the        submitted on June 13, 2005) and her termination in
FMLA; 2)[she] was qualified for her position 3)[she]            September closely follow the expiration of her FMLA
suffered an adverse employment action; and 4) the adverse       leave. This temporal proximity creates a genuine issue of
employment action occurred under circumstances giving           material fact as to whether the adverse employment action
rise to an inference of retaliatory intent." Protenza. 365      occurred under circumstances giving rise to an inference
F.3dat 168.                                                     of retaliatory intent.

 *4 The parties do not dispute that the first three elements
of Mucci's prima facie case are satisfied. Therefore, the         B. Retaliation Under the ADEA and CFEPA '
issue turns on whether the fourth element is satisfied.         The ADEA makes it unlawful for an employer to
Namely, whether St. Mary's termination of Mucci gives           discriminate against an employee for opposing any
rise to an inference of retaliatory intent with respect to      unlawful employment practice or for charging, testifying,
                                                                assisting, or participating in an investigation, proceeding.



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or litigation authorized under the ADEA. 29 U.S.C.A. §               requirement, anything more is necessary than general
623.                                                                 corporate knowledge that the plaintiff has engaged in
                                                                     a protected activity."); see also Reed v. A. W. Lawrence
Again, under the McDonnell-Douglas burden-shifting                   <& Co. Inc., 95 F.3d 1170, 1178 (2d Cir.1996) (finding
framework, the plaintiff must first establish a prima facie          the knowledge requirement "easily proved" because the
case of retaliation. See Slaftery v. Swiss Reinsurance              corporate entity was aware of plaintiffs complaints).   15

America Corp., 248 F.3d 87, 94 (2d Cir.2001). First, the
plaintiff must show by a preponderance of the evidence:             As previously noted, "temporal proximity can
1) participation in a protected activity known to the               demonstrate a causal nexus." Siattery, 248 F.3d at 95:
defendant; 2) an employment action disadvantaging the               i-fe Cifra v. GE Co.. 252 F.3d 205, 217 (2d Cir.2001)
plaintiff; and 3) a causal connection between the protected         (stating that "[t]he causal connection needed for proof
activity and the adverse employment action. Slalicry, 248           of a retaliation claim can be established indirectly by
F.3d at 94. (citation omitted)(internal quotation marks             showing that the protected activity was closelyfollowed in
omitted). At this stage, the plaintiffs burden is minimal or        time by the adverse action." (internal citations omitted)).
de minimis. Id.
                                                                    However, "when timing is the only basis for a claim
                                                                    of retaliation and gradual averse job actions began well
*5 St. Mary's argues that "based on the [timing of                  before the plaintiff ever engaged in a protected activity,
Mucci's] filing of her administrative charge with the               an inference of retaliation does not arise." Milde v. The
CHRO and EEOC," Mucci cannot prevail on her ADEA                     Housing Authority of the Town of Greenwich et al., 2005
and CFEPA retaliation claims. Specifically, St. Mary's               U.S. Dist. LEXIS 434701, 41 (quoting Siattery, 248 F.3d
first argues that Mucci cannot satisfy the first and second         at 95).
prongs of her prima facie case because 1) "no evidence
exists that [nursing directors. Brown, Weber, and Bowley],          Mucci first made an informal complaint on February
knew of her protected conduct or that they retaliated               22, 2005, to Diane Gaborc and then formally served
against [Mucci]," and 2) when the sole basis for the                St. Mary's with her CHRO and EEOC complaint on or
retaliation claim is timing and "gradual adverse job                about May 23, 2005. She was terminated on September
actions" began before the plaintiff made her complaints,            19, 2005. About seven months transpired between her
then an inference of retaliation is precluded.                      initial informal complaint and her termination. There
                                                                    were no documented adverse actions while Mucci was
In response, Mucci argues that she has "put forth                   an RN.       The court concludes that Mucci's termination
sufficient evidence of retaliation" showing "there are              was sufficiently close in time to her complaints of
material issues of fact precluding summary judgment."               discrimination to raise an issue with respect to causation
Specifically, Mucci argues that "a reasonable jury                  for purposes of her prima facie case of retaliation.
could find that [St. Mary's] retaliated against [her]
for her age discrimination complaints by failing to
investigate her complaints, thwarting her efforts to use              C. Age Discrimination Claims (ADEA and CFEPA)
the internal grievance process, and ultimately preventing            *6 The ADEA makes it "unlawful for an employer ...
her from obtaining full-time active employment status and           to discharge any individual or otherwise discriminate
terminating her employment."                                        against any individual... because of such individual's age."
                                                                    29 U.S.C. § 623(a)(lj. The protected class is limited to
The court concludes that the plaintiff has alleged sufficient       persons 40 years of age or older. See id. at § 631.
facts to make out a prima facie case of age-based
retaliation.                                                        BecauseMucci offers no direct evidence of discriminatory
                                                                    treatment based on age, both her ADEA and CFEPA
A showing of individual awareness on behalf of nursing              claims are reviewed under the familiar McDonnell-
directors, Brown, Weber, and Bowley, is not required.               Douglas framework, starting with the prima facie case. See
See Gordon v. A't-if York City Bd OJ Educ.. 232 F.3d                Woodman t-. WWOR-TV. Inc., 411 F.3d 69, 76 n. 1 (2d
Hi. 116(2d Cir.2000) (stating that "[n]either this nor any          Cir.2005).
other circuit has ever held that, to satisfy the knowledge


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First, the plaintiff must establish a prima facie age           the age of 40." The court concludes that this evidence
discrimination case by demonstrating that: "(i) at the          is sufficient, at this prima facie stage, to give rise to
relevant time the plaintiff was a member of the protected       an inference of age discrimination. Therefore, Mucci has
class; (ii) the plaintiff was qualified for the job; (iii)      established her prima facie case of age discrimination.
the plaintiff suffered an adverse employment action;
and (iv) the adverse employment action occurred under
conditions giving rise to an inference of discrimination...."   II. Pretext

Id. (internal quotation marks omitted) (citations omitted).      *7 In accordance with the McDonnell-Douglas
Plaintiffs prima facie burden is again de minimis. Id.          framework, the final burden-shift falls on the plaintiff to
                                                                show that the defendant's proffered non-discriminatory
St. Mary's argues that Mucci offers no direct or                legitimate reasons for its adverse employment actions were
circumstantial evidence that suggests discrimination based      merely a pretext for discrimination.     St. Mary's Honor
upon her age. Specifically, St. Mary's argues that because      Ctr. V. Hicks. 509 U.S. 502, 511 (1993).
Mucci was hired as an RN at an age within the protected
class, that some hiring directors were within the age of the    Because the pretext analysis is the same for all of Mucci's
protected class, and that some of the people hired for the      claims, the court will address her claims together with
16 positions were within the age of the protected class,        respect to this final burden-shift.
there is no support for an inference of discrimination.
                                                                St. Mary's argues that even if a prima facie case is
In response, Mucci argues that her "termination occurred        established, Mucci fails to provide sufficient facts to raise
under circumstances that give rise to an inference of           an issue of pretext because she "has no evidence [that
discrimination." Specifically, she argues that she is           the hospital's articulated reasons are] false" and "cannot
long-time employee in "good standing" subject to the            refute [its] legitimate business reasons for its selection
defendant's "desire for a younger nursing staff at a            decisions," and therefore isentitled to summary judgment.
workplace faced with an "aging nursing population[ ]."
She focuses on the testimony of Nancy Miko.                     Mucci makes various arguments that St. Mary's proffered
                                                                reasons are mere pretext. Specifically, she argues that,
The parties do not dispute that the first three prongs of the   1) she was well qualified for the RN positions to which
prima facie case are satisfied. The analysis thus turns on      she applied and as a previously successful RN on Xavier
whether the fourth prong, inference of discrimination, is       3, it is "implausible" that she was not re-hired; 2) the
satisfied. The court concludes that the evidence does create    discriminatory belief that "you can't teach an old dog new
such an inference.                                              tricks" underlies one nursing director's hiring rationale;
                                                                and 3) there is direct animus indicated in Nancy Miko's
"The far more reliable indicator of age discrimination          testimony. Mucci further adds that pretext is evidenced
is the age discrepancy between the discharged employee          by St. Mary's portrayal of her termination as a rote result
and her replacement." Woodman v. IVWOR-TV, Inc.,                of the application St. Mary's neutral absence policy and a
411 F..3d 69, 78 (2d Cir.2005) (quoting O'Connor v.             review of the evidence that St. Mary's provides in support
Consolidated Coin Caterers Corp.. 517 U.S. 308, 312             of its legitimate business reasons.
(1996)). "Thus, it is that discrepancy as to which an
employer must have some knowledge to support an                 "On a motion for summary judgment ... [the] plaintiff
inference of discriminatoi7 intent." Id. at 78.                 must demonstrate that there is sufficient potential proof
                                                                for a reasonable jury to find the proffered legitimate
With respect to Mucci's application for her former              reason merely as pretext for impermissible retaliation."
position on Xavier 3, a recent graduate, Kathy Pohorilak,       Qiiinn v. Green Tree Credit Corp., 159 F.3d 759, 764
replaced Mucci. Pohorilak was 15 years younger than             n. 5 (2d Cir.1998). The plaintiff must show that the
Mucci at the relevant time of her transfer to Xavier 3.         legitimate reasons offered by the defendant were not
                                                                its true reasons, but were a pretext for discrimination.
Recruiting Coordinator, Nancy Miko, testified, "of all          Reeves i'. Sanderson Plianbin^^ Products Inc.. 530 U.S.
the positions Mucci applied for 3 people hired were over        133, 148 (2000)(holding that the "plaintiffs prima facie



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case, combined with sufficient evidence to find that the           St. Mary's asserts that Bowley did not want to hire Mucci
employer's asserted justification is false, may permit the         because of the nature of the work done on Bowley's unit.
trier of fact to conclude that the employer unlawfully             Specifically, in her affidavit, Bowley states that she had
discriminated."). The plaintiff does not have to prove the         a "hiring preference of only hiring nurses with strong
falsity of the defendant's proffered reasons. Bickerstajf v.       telemetry and critical care or cardiovascular experience,
Vassar College, 196 F.3d 435. 447 (2d Cir. 1999).                  or alternatively, those new graduate nurses whom I could
                                                                   train in the style and manner in which I wanted them to
St. Mary's proffered reasons are addressed as follows:             perform."

                                                                   Bowley's statement that she requires specific experience
   \) Janice Weber, Nursing Director of Xavier 3                   could stand alone as a sufficient legitimate reason and
St. Mary's argues that "Ms. Weber viewed [Mucci] as an             would be difficult for Mucci to contend as pretext.
average nurse and that she found [Mucci's] interpersonal           However, Bowley's legitimate nondiscriminatory basis
and performance skills to be lacking." However, on the             does not stop there. Rather, she continues that in the
St. Mary's "Performance Appraisal" dated December 31,              alternative she prefers new graduates because, I) she can
2003, and signed by both Mucci and Weber, Weber                    train them to her liking and 2) they are "best suited for the
checked that Mucci "Meets Standard" in all forty-                  very fast paced environments of these particular units."
three subcategories of seven "Key Result Areas" on the             Bowley suggests I) that only new graduates can grasp her
           1R
appraisal.    Weber did write additional comments on               specific method of training and 2) that only new graduates
the appraisal including "still at the novice practice level."      are able to handle the pace of the floors. By making such
Yet, Weber testified that, with respect to her decision            hiring generalizations, Bowley is not considering each
on Mucci's application for her old position on Xavior 3,           applicant's actual skill and ability. Also, about three years
"[performance] didn't come into play at all. It was purely         separate Mucci's hiring as a new graduate RN and her
internal versus external."                                         application to Bowley's fioor in 2005.

                                                                   The court concludes there are sufficient facts here to
  2) Janice Brown, Nursing Director of Sacred Heart 5
                                                                   create a genuine issue of material fact with respect to
  and O'Brien 4
                                                                   whether St. Mary's proffered reasons for rejecting Mucci's
*8   St. Mary's states that Brown did not want to
                                                                   applications and for terminating Mucci's employment
hire Mucci based on Mucci's previous performance as                were pretext for unlawful discrimination.
unit clerical worker in the 1990s when Brown was her
supervisor. Specifically, the defendant states that Brown          With respect to Mucci's application for a position
"had ample opportunity to observe [Mucci as a unit clerk]
                                                                   available on O'Brien 1, however, the court concludes that
and filed two complaints about [Mucci's work]. Brown               Mucci has failed to prove that St. Mary's legitimate reason
thought Mucci was "slow, lacked initiative and was not             was a pretext for illegal discrimination. Mucci provides no
assertive." However, Brown's comments refer to when
                                                                   evidence that the proffered reason, her lack of experience
Mucci held a clerical position in the 1990s, about a decade        on the psychiatric unit, was pretext for discrimination.
prior to her working as a nurse. In her affidavit. Brown
also states that her decision "was not in any way based
                                                                   Because Mucci has established a prima facie case for all
upon [Mucci's] age, but was strictly based upon [her]              of her claims and has created a genuine issue of material
personal interaction with Ms. Mucci, [her] observations            fact as to pretext, the motions for summary judgment with
of [Mucci], and [her] experiences with [Mucci]," thus              respect to the claim of FMLA retaliation, the claim of
admitting that part of her hiring decision was based on            retaliation under the ADEA and CFEPA, and the claim
personal interactions rather than work performance.                of age discrimination under the ADEA and CFEPA are
                                                                   denied.

  2) Paula Bowley, Nursing Director of Patient Care
  Servicesfor Critical Care, Telemetry & Cardiovascular
  Care                                                                                  CONCLUSION




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*9 For the foregoing reasons, the motion for summary
judgment (document no. 57) is GRANTED in part and                          ordered.
DENIED in part. The motion is granted with respect to
statutory violation of the FMLA and the plaintiffs job             ^jj
application for the position on O'Brien 1, but is denied
with respect to the remaining claims.                             Not Reported in F.Supp.2d, 2008 WL 8920318

Footnotes
1      It is undisputed that noone at St. Mary's evermade a discriminatory statement to Mucci concerning herage.
2      Mucci wasconsidered a "new graduate" for the purposes ofherhiring as an registered nurse.
3      Mucci had cervical injuries and a torn rotator cuff in her right shoulder.
4      In a letter dated January 11,2005, John Jenusaitis, St. Mary's Manager ofCompensation and Benefits, wrote Mucci that
       her FMLA leavewas exhaustedon January9, 2005. Mucci contends that the letter was postmarked on January18,2005
      and she received it on January 22, 2005. Jenusaitis wrote in part: "Since you are still unable to return to workand are not
      eligible forany additional leave the Hospital will place you ina neutralabsence status for up to one year (retroactive to the
      first dayofyour approved FMA). Neutral absence status meansthat your former position with the Hospital will no longer
      be held open. You may applyfor any other position within the Hospital, forwhich you meet the minimum qualifications,
      once you are cleared to return to work. Ifyou are not cleared to return or have not secured another positionby September
      14,2005, the Hospital will terminate youremploymentas of that date... During the neutral absence periodyou are allowed
      to remain in the Hospital's lifeinsurance plan at no additional cost to you ...."
5     Theneutral absence policy in effect at the time provided in part: "It isthe policy ofthe Hospital to place an employee in a
      neutral absence status once he/she has used the maximum amount of Familyand Medical leave, and is unable to return
      to work due to the ... serious health condition of the employee...."
6     The neutral absence policy in effect at the time provided that"[a]ny employee who is cleared to retum to work ... may
      apply for any open positions for which h/she meets the minimum qualifications. It is the employee's responsibility to
      check for open positions with the Hospital." St. Mary's argues that applicants in neutral status are considered external
      applicants. Mucci argues that St. Mary'swas not clear about their interpretation resulting invarious supervisors providing
      her conflicting information, which thus affected the weight given to her applications.
7     "An employeemust be cleared to return to work by both his/herown physician and the St. Mary's Hospital Occupational
       Health Physician from their own illness...." St. Mary's 2002 Neutral Absence Policy.
8     As Clinical Recruiter, Miko's responsibilities include preparing, distributing and overseeingallclinical jobannouncements
      and recruitment notices, recruitingfor a variety of clinical positions includingregistered nurses, and posting and reviewing
      allinternal transfer requests submitted byclinical employees as well as reviewing alljob applicationssubmitted byexternal
      candidates forclinical positions.Afterreviewing the internal and external applications, she distributesthem to the nursing
      director. Miko's review includes a preliminary screening of the applications keeping in mind what the nursing directors
      are looking for. She also testified that she worked on several reports looking at the issue of the aging nursing workforce
      out of a concern that there is a lack of replacement nurses for those that are retiring. She expressed concem over a
      statewide nursing crisis and that the average age of nurses at St. Mary's at the time was 47. In response to a question
      regarding the hospital specifying nursing positionsfor new grads that are nontraditional students as a way to ameliorate
      the aging nursing population, Miko testified "Ifwe're talking about an average age of 35 versus retirement age of 55,
      57, that is 20 solid years."
9     The job posting policy in effect at the time provided in part: "All jobs,except executive management level positions, are
      posted for the benefit of St. Mary's Hospital employees on the bulletin boards located outside the Employees' Dining
      Room of the Hospital. Available positions are posted on this board for seven consecutive days, beginning with the date
      of the posting. (See Internal Promotion/Transfer Policy)... No internal and external candidates will be interviewed until
      the position has been posted for seven(7) days. Interview dates may be assigned to commence as soon as the posting
      period is complete."
        Mucci contends that Kathy Pohorilak, an internalcandidate, was interviewed and offered the Xavier3 position during
        the 7-day posting period contrary to the job posting policy whileSt. Mary's contends that Ms. Weber officially offered
        Ms. Pohorilak the position on Xavier 3 "at the end" of the 7-day posting period.




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10    Mucci applied for 16 positions byway of7 applications for rehire. She applied for two positions on Xavler 3. She applied
      for six positions on the Telemetry/Critical Care Unit. She applied for five positions on Sacred Heart 5, one position on
      O'Brien 1, and two positions on O'Brien 4. The parties dispute whether St. Mary's received one of Mucci's applications
      (for two positions on Sacred Heart 5) submitted on March 11,2005. Also, Weber testified that she did not receive Mucci's
      application for a position on Xavier 3 (submitted on June 13, 2005) from Nancy MIko.
11     In a letter dated September 19,2005, John Jenusaltis wrote: "This letter Is a follow uptotheletter sent toyou onJanuary
      11, 2005, which put you In neutral absence status. As stated in that letter, if you did not secure another position by
      September16, 2005, the Hospital will terminate your position as ofthat date, underthe neutral absence policy."
12    St. Mary's additionally argues that Mucci cannot prevail on her claim that the hospital violated the FMLA. Mucci asserts
      that "[she] never brought a claim under the substantive guarantees of the FMLA, but has asserted a claim of retaliation
      for exercisingthose rights." Mucci does not contend that the defendant violated her rights under the substantive terms of
      the FMLA, and, therefore, the motion for summary judgment is granted with respect to any such claim.
13    CFEPA and ADEA claims are analyzed underthe same legal standard, and Connecticut courts use federal precedent
      as a guide when interpreting and enforcing the CFEPA. See Levyv. Comm'n of Human Rights and Opportunities, 236
      Conn. 96, 103, 671 A.2d (Conn .1996).
14    St. Mary's argues that May18, 2005, the date Mucci' filed charges with the CHRO and EEOC, is the date from which her
      retaliation claim should be analyzed. However, Mucci argues that her first protected activity was an Informal complaint
      made on February 22, 2005, to Diane Gaborc. In viewing the evidence in a light most favorable to the plaintiff, the court
      concludes that Feb 22, 2005, is the date of Mucci's first protected activity. See Kotcher v. Rosa and Sullivan Appliance
      Ctr., Inc., 957 F.2d 59, 65 (2d Clr.1992) (holding that an "internal complaint to company management" constitutes a
      protected activity).
15    See alsoAlston v. New York City Transit Auth., 14F.Supp.2d 308,311 (S.D.N.Y.1998) (recognizing thatthe"plaintiff need
      not show that individual decision-makers within the NYCTA knew that she had filed ... [an] EEOC complaint."); Gordon
      V. Health and Hospitals Corporation, 2008 WL 924756 (E.D.N.Y.2008)(holding that the defendant's "general corporate
      knowledge of plaintiffs SDHR complaint" was sufficient knowledge).
16    Compare Slattery v. Swiss Reinsurance America Corp.. 248F .3d 87.94 (2dClr.2001 )(statlng that"adverse employment
      actionswere both part, and the ultimate product of an extensiveperiod of progressive discipline which began when [the
      defendant] diminished Slattery'sjobresponsibilities a full five months prior to hisfiling ofthe EEOC charges."): Ungerleider
      V. Fleet Mortgage Croup of Fleet Bank, 329 F.Supp.2d 343 (2004)(holdlng that "ample evidence" that plaintiff was not
      a "model employee" precluded temporal proximity as the sole causal connection); Milde v. The Housing Authority of the
      Town of Greenwich et al., 2005 U.S. Dist. LEXIS 434701 (holding that a "seriesofgradual reprimands" prior to the plaintiff
      engaging in a protected activity outweighs a temporal proximity).
17    The parties do not dispute that St. Mary's has satisfied its burden under the McDonnell-Douglas requirement that the
      defendant proffer legitimate non-discrlmlnatory reasons for not selecting Mucci for the vacant positions.
18    The remaining two options Webercould have selectedwere "Does Not Met Standard" or "In Training".


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